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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

TRIUMPHANT GOLD LIMITED,                           §
                                                   §
       Plaintiff,                                  §
                                                   §
v.                                                 §        CIVIL ACTION NO. 4:18-CV-04770
                                                   §
DARREN MATLOFF.,                                   §
                                                   §
       Defendant.                                  §


                            DEFENDANT’S ORIGINAL ANSWER

       Darren Matloff (“Matloff”) files this Original Answer to Plaintiff’s Complaint, and

respectfully pleads the following:

                                                  I.

                                                ANSWER

       1.1     Matloff is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 1 of the Complaint.

       1.2     Matloff admits the allegations in Paragraph 2 of the Complaint, except he denies

that he is a resident of the City of Houston.

       1.3     Matloff admits the allegations in Paragraph 3 of the Complaint.

       1.4     Matloff admits the allegations in Paragraph 4 of the Complaint.

       1.5     Matloff admits the allegations in Paragraph 5 of the Complaint.

       1.6     Matloff admits the allegations in Paragraph 6 of the Complaint.

       1.7     Matloff admits the allegations in Paragraph 7 of the Complaint.

       1.8     Matloff denies that he or Rooftop Group International Pte Ltd. (“Rooftop”) owed

$4,427,209.82 to Plaintiff Triumphant Gold Limited (“TGL”) on April 26, 2018; denies that he
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or Rooftop owed $3,903,895.65 in principal to TGL on April 26, 2018; and denies that he or

Rooftop owed $523,314 in interest to TGL on April 26, 2018. Matloff otherwise admits the

allegations in Paragraph 8 of the Complaint.

       1.9     Matloff does not understand the allegations in Paragraph 9 of the Complaint and

therefore denies the allegations in Paragraph 9.

       1.10    Matloff denies the allegations in Paragraph 10 of the Complaint.

       1.11    Matloff denies the allegations in Paragraph 11 of the Complaint.

       1.12    Matloff admits the allegations in Paragraph 12 of the Complaint.

       1.13    Matloff admits the allegations in Paragraph 13 of the Complaint.

       1.14    Matloff admits the allegations in Paragraph 14 of the Complaint.

       1.15    Matloff is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 15 of the Complaint.

       1.16    Matloff admits that he has not filed an appeal of the Singapore Judgment but

otherwise denies the allegations in Paragraph 16 of the Complaint.

       1.17    Paragraph 17 of the Complaint does not require a responsive pleading.

       1.18    Matloff admits the allegations in Paragraph 18 of the Complaint.

       1.19    Matloff is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 19 of the Complaint.

       1.20    Matloff denies that the Singapore Judgment is not a fine or penalty but otherwise

admits the allegations in Paragraph 20 of the Complaint.

       1.21    Matloff denies the allegations in Paragraph 21 of the Complaint.

       1.22    Matloff is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 22 of the Complaint.




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       1.23    Matloff is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 23 of the Complaint.

       1.24    Matloff is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 24 of the Complaint.

                                                II.

                                           DEFENSES

       2.1     The loan and guarantee agreements underlying the Singapore Judgment are

usurious and against public policy.

       2.2     The guarantee agreements underlying the Singapore Judgment are void and

unenforceable because they were unsupported by consideration.

       2.3     The loan and guarantee agreements underlying the Singapore Judgment were

induced through deception and duress and are therefore void and unenforceable.

       2.4     The Singapore Judgment is against public policy and unenforceable.

       2.5     The Singapore Judgment was issued by a court that lacked jurisdiction because

the subject matter was subject to a then-pending arbitration.

       2.6     The Singapore Judgment was obtained in violation of Matloff’s fundamental right

to due process because he was denied a reasonable opportunity to defend himself.

       2.7     TGL is equitably estopped to enforce the Singapore Judgment.

                                               III.

                                            PRAYER

       Matloff requests that TGL take nothing on its claims, that TGL’s claims be dismissed

with prejudice, and that Matloff be awarded all further relief to which he may be entitled.




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                                           Respectfully submitted,

                                           HICKS THOMAS LLP

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                                           DARREN MATLOFF




                               CERTIFICATE OF SERVICE

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                                           /s/ Allen H. Rustay




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